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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division


 HANNAH CRAMER, et al.,

                                       Plaintiffs,
 v.                                                      Case No. 3:18-cv-00039

 ARKESIA, INC. d/b/a CLUB ROUGE, et al.,

                                       Defendants.


                                            ORDER

       THIS MATTER is before the Court on the [arties’ Joint Motion for Approval of FLSA

Settlement. Upon consideration of the parties’ Motion, it is hereby ORDERED that the Motion is

GRANTED and that the parties’ Settlement Agreement and General Release is APPROVED is

fair and adequate. This action is DISMISSED with PREJUDICE, except that this Court retains

jurisdiction to enforce the terms of the settlement pursuant to Kokkonen v. Guardian Life Ins. Co.

of Am., 511 U.S. 375 (1994). The parties shall bear their own respective costs and attorneys’ fees,

except as otherwise specified in the Settlement Agreement and General Release.



       The Clerk is DIRECTED to send a copy of this Order to all counsel of record.



       It is so ORDERED.




Date: _____________                          ________________________
Richmond, Virginia                           Henry E. Hudson
                                             United States District Judge
